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                                           UNITED STATES DISTRICT COURT
          16                              EASTERN DISTRICT OF CALIFORNIA
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          19   MARIA TORRES and MELCHOR TORRES,)                     NO. CIV-F-02-6385AWI (LJO)
          20   individually and as Administrators of the Estate of
               EVERARDO TORRES, et al.,                              ORDER DISMISSING
                                                                     MATTER WITH PREJUDICE
          21
                                Plaintiffs,
          22
               vs.
          23
CITY OF CITY CITY OF OF MADERA, MARCY NORIEGA,
         24  individually and as a member of the Madera Police
             Department, et al.,
          25
                                Defendants.
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     Case 1:02-cv-06385-AWI-GSA Document 316 Filed 03/26/14 Page 2 of 3


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 2      IT IS HEREBY ORDERED that this entire matter shall be dismissed with

 3   prejudice. Each party to bear their own costs and fees.

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     IT IS SO ORDERED.
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 4   Dated: March 26, 2014
                                       SENIOR DISTRICT JUDGE
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